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 5
 6                               UNITED STATES DISTRICT COURT
 7                             CENTRAL DISTRICT OF CALIFORNIA
 8                                            WESTERN DIVISION
 9 CARPENTERS SOUTHWEST                              No. 2:16-cv-08040-MWF-SK
   ADMINISTRATIVE
10 CORPORATION, a California non-                    REPLY RE: APPLICATION TO
   profit corporation; and BOARD OF                  CONTINUE HEARING DATE FOR
11 TRUSTEES FOR THE
                                                     DEFENDANTS’ MOTION TO
   CARPENTERS SOUTHWEST                              DISMISS (DOC # 11, 12)
12 TRUSTS,
13                                   Plaintiffs,     (Expedited Consideration Requested)
14 v.                                                Assigned to Hon. Michael W. Fitzgerald
15 HKB, INC., an Arizona corporation,
     doing business as SOUTHWEST
16 INDUSTRIAL RIGGING; HARRY
     KENT BAKER, an individual;
17 SCOTT WILLIAM MILLER, an
     individual; JAMES DOUGLAS
18 WILSON, an individual,
19
                                     Defendants.
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22
              Virtually everything that the Funds said in their Response is wrong. Rather

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     than refute their arguments point-by-point, we simply refer to the Ninth Circuit’s

24
     decision in Ahanchian v. Xenon Pictures.1 The facts in that case are almost

25
     identical to this one, including an ex parte request to extend a deadline beyond a

26
     holiday weekend. A copy of that case is attached as Exhibit A.

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28   1
         624 F.3d 1253 (9th Cir. 2010)

     CORE/3008422.0002/130748037.1
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 1            RESPECTFULLY SUBMITTED this 22nd day of December 2016.
 2                                         STINSON LEONARD STREET LLP
 3                                   By:   /s/ Javier Torres
                                           Javier Torres
 4                                         1850 North Central Avenue, Suite 2100
 5
                                           Phoenix, Arizona 85004-4584
                                           Attorneys for Southwest Industrial
 6                                         Rigging

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 1                                    PROOF OF SERVICE
 2            1.       I am over 18 years of age and not a party to this action. I am a
 3 resident of or employed in the county where the mailing took place.
 4            2.       My residence or business address is: 1850 North Central Avenue,
 5 Suite 2100, Phoenix, Arizona 85004.
 6            3.       On December 22, 2016 I mailed from Phoenix, Arizona the
 7 following documents:              REPLY RE: APPLICATION TO CONTINUE
 8 HEARING DATE FOR DEFENDANTS’ MOTION TO DISMISS (DOC #
 9 11, 12); EXHIBIT A.
10            4.       I served the documents by enclosing them in an envelope and
11 placing the envelope for collection and mailing following our ordinary business
12 practices. I am readily familiar with this businesses practice for collection and
13 processing correspondence for mailing. On the same day that correspondence is
14 placed for collection and mailing, it is deposited in the ordinary course of
15 business with the United States Postal Service in a sealed envelope with postage
16 fully prepaid.
17            5.       The envelopes was addressed and mailed as follows:
18            Daniel Shanley
              DeCarlo & Shanley
19            533 South Freemont Avenue, Ninth Floor
              Los Angeles, California 90071-1706
20
21            I declare under penalty of perjury under the laws of the State of California
22 that the foregoing is true and correct.
23
24 Dated: December 22, 2016
25                                             /s/ Cynthia Fischer
                                               Cynthia Fischer
26
27
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     CORE/3008422.0002/130748037.1
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